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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                       LAREDO DIVSION

          In re:                                              §               Chapter 11
                                                              §
          VOLUSION, LLC1                                      §               Case No. 20-50082
                                                              §               (DRJ)
                             Debtor.                          §
                                                              §
                                                              §

    OBJECTION AND RESERVATION OF RIGHTS OF KSCO HOLDINGS, INC. AND
     KEVIN SPROLES IN RESPONSE TO DEBTOR’S EMERGENCY MOTION FOR
      AUTHORITY TO USE CASH COLLATERAL AND GRANTING ADEQUATE
              PROTECTION TO PREPETITION SECURED PARTIES

TO THE HONORABLE DAVID R. JONES
UNITED STATES BANKRUPTCY JUDGE:

         By and through undersigned counsel, KSCO Holdings, Inc. (“KSCO”) and Kevin Sproles

(“Sproles”) file this objection and reservation of rights (the “Objection”) in response to Debtor’s

Emergency Motion for Authority to Use Cash Collateral and Granting Adequate Protection to

Prepetition Secured Parties [Docket No. 4] (the “Motion”). In support of the Objection, KSCO

respectfully states as follows:

                                       PRELIMINARY STATEMENT

         KSCO is the largest member and equity security holder in the debtor, Volusion, LLC

(“Volusion” or “Debtor”) -- which, according to its bankruptcy petition (the “Petition”) is

domiciled in Delaware with a principal place of business and assets located in Austin, Texas and

nowhere else, and certainly not Laredo, Texas.2 Kevin Sproles is the largest equity owner of



1
  The Debtor in this chapter 11 case, along with the last four digits of the Debtor’s federal tax identification number,
is: Volusion, LLC (9037). The Debtor’s service address is 1835A Kramer Lane, Suite 100, Austin, TX 78758.
2
 Contemporaneously herewith, KSCO and Mr. Sproles filed a Motion to Transfer Venue to the Western District of
Texas, Austin Division.
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KSCO. He is also the founder of Volusion and until July 27, 2020 was employed by Volusion.

Prior to the filing of the above-captioned chapter 11 bankruptcy case (the “Bankruptcy Case”),

Main Street Capital Corporation (“Main Street”), on behalf of itself and HMS Income Fund, Inc.

(“HMS” and together with Main Street, the “Lenders”), took actions through their appointed

member of Volusion’s Board to engineer defaults on their loan with Volusion. Main Street used

the manufactured defaults to improperly seize control of KSCO’s interest in Volusion and replace

Volusion’s Board members with Main Street’s own board. Main Street then exploited its control

of Volusion to the Debtor’s detriment.

       On July 22, 2020, KSCO was informed that a forbearance agreement had been entered

into between Main Street and Volusion through August 31, 2020. Nevertheless, on July 27, 2020,

Volusion, through Main Street’s selected board, terminated Volusion’s Chief Executive Officer

and other key contractors and employees, including Mr. Sproles. That same day, Volusion filed

its voluntary chapter 11 petition, thereby commencing the Bankruptcy Case in the United States

Bankruptcy Court of the Southern District of Texas, Laredo Division.

       Volusion now seeks an order from this Court authorizing the use of Cash Collateral and

granting the Lenders, including Main Street, superpriority claims and liens as adequate protection

for the use of their collateral; however, the terms of use of the Cash Collateral proposed in the

Motion have not been negotiated in good faith and at arm’s length between the Debtor and the

Lenders; rather, as it did prior to the bankruptcy filing, Main Street has operated to control the

Debtor with regard to such negotiations. Moreover, KSCO believes that the Debtor’s request to

use Cash Collateral is premature by, at least, one week, and unnecessary given the Debtor’s current

financial outlook and forecasted expenses and the pending Transfer Motion, and that the Budget




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(as defined herein) contains numerous inaccuracies. For these reasons, KSCO respectfully requests

that the Motion be denied.

                                           BACKGROUND

   I.          The Loan Agreement

         1.       Debtor Volusion, LLC (“Volusion”) entered into a Loan Agreement with lenders

Main Street and HMS Income Fund (“HMS” and together with Main Street, the “Lenders”) in

January of 2015 in the original principal amount of $25,000,000.00, with the option to borrow an

additional $10,000,000.00 for a certain time period under certain conditions. Under the Loan

Agreement, Main Street was appointed as agent for each of the Lenders.

         2.       In order to enter into the Loan Agreement, the Lenders required Volusion to convert

from a corporation to a limited liability company, enter into a new operating agreement, and set

up KSCO Holdings, Inc. to own Volusion’s membership interests, which membership interests

were pledged as security for the loan.

         3.       The Loan Agreement also permitted Main Street to appoint a member of Volusion’s

Board of Managers (the “Board”). Until March 2020, Dwayne Hyzak acted as Chief Executive

Officer and Senior Managing Director of Main Street, while simultaneously acting as Main

Street’s appointed member of the Board.

   II.         The Bankruptcy Case

         4.       On July 27, 2020, Volusion filed its voluntary chapter 11 petition and commenced

the Bankruptcy Case.

         5.       On July 28, 2020, Volusion filed the Motion, which was set for hearing on July

30, 2020 (the “Hearing”).

         6.       As of the filing of this Objection, Volusion has filed no additional first-day motions.




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         7.       Contemporaneous with the filing of this Objection, KSCO filed its Motion to

Transfer Venue (the “Transfer Motion”), seeking to transfer the Bankruptcy Case from this Court

to the Western District of Texas, Austin Division based on improper venue. KSCO has requested

an emergency hearing on the Transfer Motion.

                                            OBJECTION

   I.          Debtor’s Request to Use Cash Collateral is Premature.

         8.       The budget included with the Debtor’s proposed order (the “Budget”) anticipates

that the Debtor will not have to make any cash disbursements until the week beginning August 9,

2020. This belies the Debtor’s request for emergency relief and its assertion that “any delay in

granting the relief requested could hinder the Debtor’s operations and cause irreparable harm.” See

Motion, ¶ 13.

         9.       On information and belief, the Debtor will not be required to process funds to pay

its vendors until August 6, 2020, or maybe even later depending which payment method is utilized.

         10.      Because there is no immediate need to authorize the use of cash or cash collateral,

KSCO objects to consideration of the Motion at this time and submits that the Court need not

consider it on an emergency basis, nor should it be considered before the Court holds an emergency

hearing on the Transfer Motion.

   II.         The Cash Collateral Motion Should be Decided After KSCO’s Motion to
               Transfer Venue.

         11.      KSCO has filed its Transfer Motion seeking to transfer this Bankruptcy Case from

this Court to the Western District of Texas and seeks to have it heard on an emergency basis.

Volusion is a Delaware limited liability company with its principal place of business and principal

assets located in Austin, Texas. Thus, there are two proper venues for the Bankruptcy Case: (1)

the District of Delaware and (2) the Western District of Texas.



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           12.      Without waiving its objections, KSCO understands and supports the Debtor’s need

to access and use cash in order to operate its business and avoid irreparable harm; however,

because there is no immediate need to authorize the use of cash or cash collateral in this matter, to

the extent the Court determines it should enter any order authorizing the use of cash, it should

authorize expenditures only in an amount sufficient to cover necessary operating expenses pending

resolution of the Transfer Motion, and should only authorize the use of cash, granting no additional

claims or liens to other interested parties, including the Lenders. See, e.g., In re First River Energy,

LLC, Case No. 18-10080 (MFW) (D. Del. Jan. 17, 2018) (transferring venue to San Antonio,

authorizing the Debtor to pay amounts budgeted solely for the week ending January 20, 2018, and

fully preserving the rights of all parties in interest).3

           13.      Ultimately, a court where venue is proper should be tasked with entering orders,

hearing testimony and evidence (including potential significant cross-examination testimony) both

interim and final, that could chart the course of the Bankruptcy Case.

    III.         The Proposed Budget Exceeds the Debtor’s Immediate Operating Needs and
                 Contains Other Inaccuracies.

           14.      To the extent the Court does consider the Motion at this time, KSCO further objects

that the Budget, as proposed, exceeds the Debtor’s immediate operating needs and is otherwise

inaccurate. First, as referenced above, the Debtor has indicated that it has no cash needs prior to

the week of August 9, 2020.

           15.      Second, upon information and belief, prior to June 30, 2020, the Debtor was

operating at a monthly net cash flow ranging from -$156,000.00 to $22,000.00 and had a positive

EBITDA. The proposed Budget forecasts a monthly negative cash flow of over $1 million. The



3
 Instead of entering an interim order authorizing use of cash collateral, the Court in First River Energy entered an
order entitled Order Authorizing Debtor to Spend Cash. Docket No. 39.


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Debtor should be required to justify its forecast income and expenditures to show the necessity of

authorizing use of Cash Collateral.

       16.     Third, upon information and belief, the Debtor has the funds available to pay all

pre-petition amounts due to and owing to its unsecured creditors, eliminating the need for any

budget item related to an Unsecured Creditors Committee.

       17.     Fourth, the Debtor’s forecast contradicts its own schedules. For example, the

Debtor projects a payment for “Google Cloud Platform” in the amount of $217,000.00 to be paid

the week of August 23, 2020, but its schedules list an unsecured claim held by Google, Inc. in the

amount of $225,690.68. These discrepancies call into question the accuracy and reliability of the

Debtor’s forecast.

       18.     Fifth no payments should be budgeted or allowed for certain items like payments

to members of the Volusion Board, which were appointed by Main Street. Main Street, through its

control of the Volution Board, previously inflated the Debtor’s cash needs prior to filing the

Bankruptcy Case, casting further doubt on the accuracy of the Debtor’s projections. For example,

Volusion’s Board (as appointed by Main Street) resolved to begin paying members of the board

though such payments had not historically been made to prior members of the board or in such

significantly large monthly amounts. KSCO and Sproles specifically object to any proposed budget

that includes this type of payment.




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                                RESERVATION OF RIGHTS

       19.     KSCO and Sproles reserves the right to further supplement the Objection, including

at the Hearing, prior to entry of any Interim or Final Order entered on the Motion.

                                        CONCLUSION

       20.     For the foregoing reasons, KSCO Holdings, Inc. and Kevin Sproles respectfully

requests that this Court deny the Motion and grant such other and further relief as it deems just

and proper.

Dated: July 30, 2020
                                             Respectfully submitted,

                                             /s/ Eric M. Van Horn

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                                             AND KEVIN SPROLES


                                CERTIFICATE OF SERVICE

       I hereby certify that on July 30, 2020, a true and complete copy of the foregoing objection
and reservation of rights was served upon filing via the Court’s CM/ECF system on all parties
subscribing thereto.

                                                     /s/ Eric Van Horn
                                                     Eric M. Van Horn
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